                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                      Case No. 19-48653

JURNESHA BONNEKIA-KATEESE POPE,                             Chapter 7
pro se,
                                                            Judge Thomas J. Tucker
                Debtor.
                                       /

                                 ORDER DISMISSING CASE

        On June 10, 2019, the Debtor filed a voluntary petition for relief under Chapter 7,
commencing this case. On June 25, 2019, the Debtor filed a “Certificate of Counseling” (Docket
# 13), which states that on June 25, 2019, the Debtor received “an individual [or group] briefing
that complied with the provisions of 11 U.S.C. §§ 109(h) and 111.”

       The Debtor is not eligible to be a debtor in this case under 11 U.S.C. § 109(h)(1). That
provision provides in relevant part, that

                an individual may not be a debtor under this title unless such
                individual has, during the 180-day period ending on the date of
                filing the petition by such individual, received from an approved
                nonprofit budget and credit counseling agency described in section
                111(a) an individual or group briefing (including a briefing
                conducted by telephone or on the Internet) that outlined the
                opportunities for available credit counseling and assisted such
                individual in performing a related budget analysis.

The Debtor only received a credit counseling briefing fifteen days after filing the bankruptcy
petition. With exceptions not applicable here, 11 U.S.C. § 109(h)(1) requires a debtor to obtain a
credit counseling briefing on or before the date of filing the bankruptcy petition.

         Accordingly,

         IT IS ORDERED that this case is dismissed.


Signed on June 28, 2019




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